                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                             MIDLAND/ODESSA DIVISION

NYKREDIT PORTEFØLJE                               §
ADMINISTRATION A/S, OKLAHOMA                      §
FIREFIGHTERS PENSION AND                          §
RETIREMENT SYSTEM,                                §
OKLAHOMA LAW ENFORCEMENT                          §
RETIREMENT SYSTEM, OKLAHOMA                       §
POLICE PENSION AND RETIREMENT                     §
SYSTEM, OKLAHOMA CITY                             §
EMPLOYEE RETIREMENT SYSTEM,                       §
POLICE AND FIRE RETIREMENT                        §
SYSTEM OF THE CITY OF DETROIT,                    §
Individually and on behalf of all others          §
similarly situated,                               §
                                                  §
               Plaintiffs,                        §
                                                  §
v.                                                §           No. MO:19-CV-217-DC
                                                  §
PROPETRO HOLDING CORP., DALE                      §
REDMAN, JEFFREY SMITH,                            §
IAN DENHOLM, and SPENCER D.                       §
ARMOUR III,                                       §
                                                  §
               Defendants.                        §

                                             ORDER

       On this date, the Court considered the status of this case. The Court hereby ORDERS

the Parties to file an updated Fed. R. Civ. P. 26 Joint Report identifying the live causes of action,

defenses, and counterclaims that remain pending before the Court on or before August 31, 2022.

       It is so ORDERED.

       SIGNED this 17th day of August, 2022.




                                      DAVID COUNTS
                                      UNITED STATES DISTRICT JUDGE


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